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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

LINDA SUSAN MULLENIX,                  §
                                       §
            Plaintiff                  §
                                       §     Civil No. 1:19-cv-1203-DAE
-v-                                    §
                                       §
UNIVERSITY OF TEXAS AT                 §
AUSTIN,                                §
                                       §
            Defendant.                 §
______________________________________________________________________________

                            ORDER OF DISMISSAL
______________________________________________________________________________

       Before the Court is the Stipulation of Dismissal filed by the parties in the above-styled and

numbered cause, and after consideration of the same, the Court enters the following orders:

       It is hereby ORDERED that the Stipulation of Dismissal is GRANTED in all respects and

this lawsuit is hereby DISMISSED with prejudice.

       All relief not previously granted is hereby denied.

       The Clerk is directed to close this civil action.

       IT IS SO ORDERED.

       Signed this ____ day of November 2022.



                                      ___________________________________________
                                      HON. DAVID A. EZRA
                                      UNITED STATES DISTRICT COURT JUDGE
